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   Attorneys for the United States
 7
                         UNITED STATES DISTRICT COURT
 8
                      SOUTHERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,                         Case No: 19-mj-04453-LL
11
                   Plaintiff,
12                                                     NOTICE OF APPEARANCE
            v.
13
     MICHAEL JAMES PRATT ET AL,
14
                  Defendant.
15
16
17 TO THE CLERK OF COURT AND ALL PARTIES OF RECORD
          I, the undersigned attorney, enter my appearance as lead counsel for the United
18
   States in the above-captioned case. I certify that I am admitted to practice in this court or
19
20 authorized to practice under CivLR 83.3.c.3-4.
21                The following government attorneys (who are admitted to practice in this

22 court or authorized to practice under CivLR 83.3.c.3-4) are also associated with this case,
23 should be listed as lead counsel for CM/ECF purposes, and should receive all Notices of
24 Electronic Filings relating to activity in this case:
25              Name:

26                Joseph S Green

27                Effective this date, the following attorneys are no longer associated with this

28 case and should not receive any further Notices of Electronic Filings relating to activity in
      Case 3:19-mj-04453-LL Document 32 Filed 10/30/19 PageID.101 Page 2 of 2




1 this case (if the generic “U.S. Attorney CR” is still listed as active in this case in CM/ECF,
2 please terminate this association):
3                Name:
4                None.
5                Please call me at the above-listed number if you have any questions about
6 this notice.
7         DATED: October 30, 2019
8                                                Respectfully submitted,
9
                                                 ROBERT S. BREWER JR
10                                               United States Attorney
11                                               s/Alexandra Foster
                                                 ALEXANDRA FOSTER
12                                               Assistant U.S. Attorney
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